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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:10-cr-00249-AWI-BAM-5
12                                Plaintiff,               STIPULATION AND ORDER
                                                           RE: RESTITUTION
13   v.
                                                           DATE: September 8, 2015
14   DARLING ARLETTE MONTALVO,                             TIME: 10:00 a.m.
                                                           JUDGE: Hon. Anthony W. Ishii
15                                Defendant.
16

17                                             STIPULATION
18           The United States of America, by and through its counsel of record, and defendant, by and
19
     through her counsel of record, hereby stipulate as follows:
20
             1.     The defendant was sentenced by the Court on March 2, 2015, following conviction
21
     after a jury trial of one count of conspiracy to commit mail, wire and bank fraud (18 U.S.C. § 1349),
22

23 ten counts of mail fraud (18 U.S.C. § 1341), and one count of money laundering and aiding and

24 abetting (18 U.S.C. §§ 1341 and 2).

25           2.     Pursuant to 18 U.S.C. § 3664(d)(5), the Court set a hearing on restitution to determine
26 victim’s losses for June 22, 2015 at 10:00 a.m. That hearing has been continued to September 21,

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     2015.
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                                                       1
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            3.      The parties have reached this agreement and stipulation as to the restitution amount
 1
     owed by the defendant, as set forth below. The parties therefore jointly request that the agreed
 2

 3 restitution be incorporated into the judgment following sentencing.

 4          4.      The parties agree and stipulate, and request that the Court find the following:
 5          a.      The total amount of restitution owed by defendant Montalvo is set forth in
 6
     Attachment A to this stipulation. Attachment A describes the total amount of restitution and the
 7
     apportionment of restitution among defendant Montalvo’s victims in this case.
 8
            b.      The parties’ stipulation and the agreed amounts in Attachment A satisfy the
 9

10 requirements of 18 U.S.C. § 3664(d)(5), requiring a determination of victim’s losses “not to exceed

11 90 days after sentencing.”

12          c.      Defendant Montalvo agrees that the judgment and commitment issued in her case will
13 include the restitution amounts and apportionment agreed to in Attachment A.

14
            d.      Restitution as stated in Attachment A shall be due during the period of imprisonment,
15
     at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial
16
     Responsibility Program. If any amount of restitution remains unpaid after release from custody, the
17

18 United States Probation Officer assigned to Darling Arlette Montalvo shall set a schedule ordering

19 payments depending on the defendant’s monthly income, but not less than $50.00 per month, during
20 the period of supervised release, such payments to begin 120 days after the commencement of

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     supervision. The interest is waived.
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     IT IS SO STIPULATED.
 1
     DATED:         Sept. 2, 2015
 2                                        /s/ Henry Z. Carbajal III
                                          HENRY Z. CARBAJAL III
 3                                        Assistant United States Attorney
 4 DATED:           Sept. 1, 2015
                                          /s/Eric V. Kersten
 5                                        ERIC V. KERSTEN
                                          Counsel for Defendant
 6                                        DARLING ARLETTE MONTALVO
 7

 8 DATED:           Aug. 18, 2015         /s/ Darling Montalvo
                                          DARLING MONTALVO
 9

10
                                                  ORDER
11

12          The Restitution Hearing as to the above named defendant currently set for September 8,
13
     2015, is VACATED, the Writ of Habeas Corpus Ad Prosequendum (Doc. 375) is CANCELLED,
14
     and restitution will be incorporated in an amended judgment pursuant to the parties’ stipulation.
15

16 IT IS SO ORDERED.

17
     Dated: September 3, 2015
18                                               SENIOR DISTRICT JUDGE

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                                                                              ATTACHMENT A
                                         Case 1:10-cr-00249-JLT-BAMRestitution
                                                                     Document    377 Filed 09/03/15 Page 4 of 4
                                                                               Amount
                                                                           Darling Arlette Montalvo


                                                                          Restitution-       Restitution-
                 Property                      Originating Lender         First Loan        Second Loan        Entity to Receive Resitution          Reference
8111 Fighting Irish Drive, Bakersfield      Long Beach Mortgage Co.         $94,011.88         $70,811.82                  FDIC             Bates 31914, 31928

                                                                                                      Total:           $164,823.70




Restitution for 8111 Fighting Irish Drive is to be joint and several with co-defendants Eric Ray Hernandez and Evelyn Brigget Sanchez.




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